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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
                                    )
            v.                      )                                1:24-cr-00074 (CJN)
                                    )
DEREK DODDER                        )
                                    )
___________________________________ )

        SENTENCING MEMORANDUM ON BEHALF OF DEREK DODDER

        Back when Mr. Dodder was in film school, he had a final assignment in a

class, produce a film. He chose to produce a documentary on the protest rally at

Laguna Beach in 2017.1 In his film, he sought to show the viewpoints of both sides,

the protestors and counter-protestors. Fast forward to 2021, Mr. Dodder once again

saw an opportunity to film a political rally, this time one taking place in

Washington, DC, on January 6. His friend from the marines, Derek Nelson, invited

Dodder to attend with him. For this rally however, Dodder also believed in and

agreed with some of the concerns of the protestors, he was not a neutral observer.2

He hence showed up on January 6 with duel interests, express his support for the

rally as well as film the rally and put it up on his Youtube channel. He still had

interests in a film career. He recognized that accompanying his friend, Derek




1
 https://www.latimes.com/local/lanow/la-me-ln-illegal-immigration-rally-20170818-story.html
2
 Dodder did not vote for re-election of Trump but rather voted for an independent candidate. He was not present
to show support for Trump but rather for some of the political concerns and issues he had at the time which were
expressed by President Trump and others who were present.


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Nelson, would work well for his film. Nelson came across well on camera and was

into theatrics.

        Mr. Dodder explained during a proffer with the Government, his duel

purposes in coming to D.C. to attend the rally, stating that he “went to D.C. to

support former President Trump, but also to film for his potential documentary.”

He was disappointed about what he saw in the media and how conservatives were

being portrayed. He “felt like anyone who supported Trump at the time were

always under attack and were often called fascists. Dodder hoped he could film the

event and then produce a documentary with a positive bias spin on the edited film

of political conservatives. He wanted to show how peaceful conservatives were, but

how violent BLM/Antifa was.”

        And so accompanying his friend, Mr. Dodder arrived to D.C., attended the

rally and filmed with his GoPro. He came prepared to protect himself if other’s

actions got out of hand. He wore camo clothening because it was theatrical but also

because it covered his body better. He also brought a gas mask and goggles and a

medical kid.3 He was cognizant that potential clashes between BLM supporters and

the Proud Boys might ensue, as well as police involvement.

        He did not bring any gear to use against another, he brought no weapons,

rather what he had was to protect himself only. Consistent with that, he did not

engage in any physical violence nor destruction of property on the Capitol grounds.

It was never his intention to do so. At times he got caught up in the moment, and


3
 He had an American Heart Association Heart Saver First Aid CPR AED (defib machine) card, permitting him to
assist anyone in need.


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joined in with the chants of those around him. He entered the Capitol building and

acknowledges it was wrong to do so. He did not mean to stay in the building as long

as he did. At a point in time he realized that he needed to exit but he and Nelson

could not find an exit.4 He had been provided incorrect information that the front

door on the East side lead to a balcony. Ultimately, he and Nelson were able to exit

and they did so and did not re-enter once they exited.

        His decision to enter the Capitol caused a cascade of negative consequences

for him. His partner walked out on him and took their children with her. He was

devasted. Fortunately, after approximately three weeks away, she returned back to

him with the children. He lost employment he enjoyed. Recently he passed an

Aptitude Test Battery with the Electrical J.A.T.C. (Joint Apprenticeship Training

Committee) Selection Process, making him eligible for an interview with Electrical

JATC of Southern Nevada.5 Slowly but surely, he is putting the pieces of his life

back together again.


      Sentence of probation and/or home confinement with Restitution
Falls within 18 U.S.C. §3553(a) Factors


        Mr. Dodder urges the Court sentence him to not more than probation with or

without a period of home confinement with the agreed upon restitution amount

noted in the plea agreement. Such sentence is a “reasonable” sentence in this case.



4
  This statement is corroborated by Nelson’s independently given statement to the Government during one of his
proffer meetings.
5
  He had the interview on May 23, 2024, and is waiting to be informed of a placement and ranking to begin the 5
year apprenticeship program with the electrical union to become an electrician.


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A sentence of jail time, particularly the sentence the Government requests, would

be overly punitive, unreasonable, and is not warranted. In conjunction and

consideration of the §3553(a) sentencing factors the court must take into account,

such a sentence is reasonable and just.


      (a) Reflect seriousness of the offense and promote respect for the
          law, 18 U.S.C. §3553(a)(2)(A)


      Mr. Dodder did not engage in violent acts, nor stated any words or actions to

incite others to act. While outside the Capitol, he was not on the front lines pushing

officers out of the way, rather he was part of the crowd. While inside the Capitol, he

did not destroy any property, nor was he looking for people to assault. At no time

did he put any messages on social media seeking to stir others to act. Nor at

anytime did he boast about being at the Capitol. He recognized his error of being

present and tried to keep a very low profile. He cooperated with law enforcement

when they approached him and assisted as best he could. He was an observer and

participant but not one that initiated aggressive action.

      A sentence of probation with home confinement reflects the seriousness of the

offense and promotes respect for the law. Mr. Dodder entered guilty pleas to

misdemeanor offenses. There is no mandatory minimum, there are no guideline

calculations. A sentence of probation and zero jail time is consistent with the

statutes to which he plead guilt.



      (b) Mr. Dodder’s Personal Characteristics



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           Mr. Dodder is someone who helps society rather than someone who wants to

do harm.         His friend and supervisor Charles Thomas describes Dodder as someone

who has the values of good will and good manners. See Attached Letter of Thomas.

While working for MGM/Luxor, Mr. Dodder did volunteer work. He gave back to

the community by volunteering for 3square, an organization that provides meals to

underfunded schools.6 He also volunteered for The big Search,7 an organization to

help locate missing children. He would take pamphlets of missing children to

residences and businesses and hand out fliers as well as provide any information

received about the missing children to the designated Detective.




                                                          (volunteering at threesquare, far left)



6
    https://www.threesquare.org
7
    https://www.freeinternational.org/thebigsearch/


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       Since he was a young boy, he liked to make people laugh. See

Correspondence from Aunt Jessica. He enjoyed acting and his passion for film

making began at a young age. He “was never in trouble or destructive.” See

Correspondence from Aunt Jennifer Timlick. “if he wasn’t filming, he was reading,

listening to music and writing.” Id. “The older he got, the more of the world he saw

and so began his love for documentaries.” Id. “He is a true artist with a passion for

life.” Id.

             He is also a hard worker who takes pride in his work. See

correspondence in general. He made sure to obtain what ever certificates he

believed would be useful for his various employment. See PSR #66. After his

schooling he went into the United States Marine Corps. He was honorably

discharged from the United States Marine Corps in 2015, having left to enter film

school and pursue other opportunities. While in the Marines, he received several

awards including Good conduct, National Defense Service Medal, Afghanistan

Campaign Medal, Global War on Terrorism Service Medal, Sea Service Deployment

Ribbons, and NATO Medak-ISAF Afghanistan recognition. He did two separate

tours to Afghanistan in the Marine’s logistics unit. That unit was responsible to

receive, organize, repair and clean military gear and equipment to return back to

the United States.

       Although, his passion is in film making, while working in the field he

recognized that the film industry work is expensive and not stable. So he sought




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out work with Luxor Casino owned by MGM. There he saw a career for himself and

was on a trajectory towards upper management. He started out as a security officer

and was promoted to Assistant Security Manager. He was one of the youngest

security managers. His hope and goal was to rise up to shift manager, director,

then chief of security even possibly working at MGM’s national level and global

arena. He was being groomed to move up in the company and he was well liked as

an Assistant Security Manager. He was “well thought of, and his leadership and

absence are felt to this day.” See Correspondence of Elizabeth Hricik. “His desires

for success of the people who worked for him and with him was evident by his

willingness to always make himself available to his subordinates when help was

needed.” Id.




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                                                       (award nomination)

      While working for MGM he lead an effort to rebuild security at the Luxor

Casino to lower crime and make the building more secure. He with others reviewed

security systems in place in a multimillion dollar operation called ButtonUp.

Thanks to their findings and changes, theft rate dropped in a single quarter. He

was awarded a nomination for his efforts.

      During COVID, he was furloughed by the casino. He sought work at Chaos

Security under their security department but he did not do any security work for

them, rather he handled their media work and commercials. He also handed their



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photo shoots. However, he went back to MGM because he knew the work was more

stable and he had better career options available.




                                        (surprise birthday party at work at Luxor)

      Unfortunately, due to his arrest, MGM let him go. He found himself

unemployed. He took on work at a gas station but he and his partner decided that

only one of them could work as they were not bringing in enough income at that

time for child care. His partner, Sovereign Swindall, became the sole breadwinner

for the family working at a 7-11. She does not earn much money but it is enough for

the family currently to live on. Mr. Dodder became a stay at home Dad and has

enjoyed being able to spend quality time taking care of his children. Being a father

is very special for Mr. Dodder. He is described as a “wonderful father,” and that

“[t]here is nothing in this world he cares for more than [his] children.” (see

correspondence of Aunt Jessica, Ms. Tindall).




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                                                (with his eldest son)

       Mr. Dodder’s father, Gregory Dodder, informed the pre-sentence report writer

that if his son were to be incarcerated “it would be ‘devastating’ for his family, as it

would mean that they would not have childcare; and therefore, the defendant’s

partner would not be able to work, and they would not have an income.” See PSR

#49.




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                                                                 (with partner)

                                                            Likewise incarceration would preclude

                                                         him from entering the apprenticeship

                                                         program with the electrical union if and

                                                         when he is eligible. He would be paid

                                                         sufficiently while in the program which

                                                         would allow for child care. There is a lot

                                                         at stake if he were required to do

                                                         incarceration as recommended by the

                                                         prosecution.



        (c) Deterrence

        A sentence of probation with or without home detention will definitely deter

Mr. Dodder from any similar conduct. He has no prior convictions and no prior

arrests.8

        Mr. Dodder has already suffered greatly for his actions on January 6. As

stated previously, his partner walked out on him and took their children with her.

He was devasted by this and still becomes very emotional when retelling what

happened. He recognizes that his partner would do the same thing again if he were

to become involved in similar conduct in the future. He also lost employment that




8
 The Pre-sentence report notes a “possible charge” out of California. Mr. Dodder is completely unaware of any
such charge and was never arrested on any such charge.


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he enjoyed tremendously and for which he saw a future. He realizes his actions

have detrimental consequences to his own life and has no interest in a repeat.

      He further recognizes the wrongfulness of his conduct and the harm incurred

upon police, the political process and the nation. Although at the moment of his

actions on January 6, he believed he had reasons to do what he did which he

believed were prompted in response to things he saw but he does appreciate that his

actions were wrong and inappropriate. He does not intend to get involved in

something similar.

      As for general deterrence, a sentence of probation provides a strong message

that there are repercussions for being involved in such activity including being

charged, having a criminal record and being subject to supervision by the Court.



      (d) To Sentence Mr. Dodder to a Sentence of Jail Time Would Result
in an Unwarranted Disparity

      The government cites to three other cases in support of their request for a

sentence of 60 days. Two of the defendants they cite received sentence of less than

the 60 days they ask for here, and yet the actions of those individuals were more

egregious than that of Dodder’s. For instance, in United States v. Landon

Manwaring, 22-cr-270 (CJN) (D.D.C.), the government acknowledges that

Manwaring went near Speaker Pelois’ suite, minimized his conduct during a second

interview with the FBI, falsely claimed police “welcomed” him into the Capitol and

that he saw no property destroyed, and he committed another serious crime after

January 6. Mr. Dodder on the other hand, committed no other crimes after January



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6, spoke with law enforcement before he was even arrested, sought to assist and

acknowledged his involvement. In the case of United States v. Jeffrey Hubbard, 21-

cr-737 (CJN) (D.D.C.), the government admitted Hubbard actually threatened to

fight officers, maneuvered to the front of the melee, and was pepper sprayed in the

face before being escorted out. Mr. Dodder never actually threatened anyone, nor

did he maneuver himself to the front of any mele or police line, and he exited the

Capitol on his own accord.

      Finally, in United States v. Clifford Meteer, 21-cr-630 (CJN) (D.D.C), the

Government admits that Meteer made numerous statements on Facebook and in

interviews after January 6 reflecting a lack of remorse, did not admit to the FBI

that he went inside and falsely downplayed the violence on January 6, further he

had a criminal history. Mr. Dodder never negated his involvement or the

seriousness of what he saw around him, nor did he post anything on line or do

interviews.

      In a case the Prosecution does not cite, United States v. Renee Fattaa, 23-cr-

217 (CJN) (D.D.C.), this Court sentenced the defendant to 14 days. In the

Government’s sentencing memorandum, ECF #27, they state “Fatta danced her way

into the Capitol shortly after witnessing the Parliamentarian door’s violent breach.

Once inside Fatta witnessed destruction, heard other rioters chanting for violence

against police, and was still not deterred. Instead she took out her marijuana vape

pen to enjoy the spectacle,” before she left after being pepper sprayed by police. She

remained on the Upper West Terrace grounds ignoring police officer’s requests to




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leave. She then “minimized and defended the rioters’ actions on social media,

callously stating that images of lawmakers fearing for their lives ‘warms [her]

heart.’”

       Mr. Dodder does not warrant a sentence as great as Meteer who was

sentenced to 2 months, Hubbard who received a 45 day sentence of incarceration,

Manwaring who was sentenced to 30 days incarceration or Fatta sentenced to 14

days. Although, Mr. Dodder was in the Capitol approximately 48 minutes, he

sought to find an exit and would have exited earlier if he had known how to exit out.

Further, although he was part of a group that breached a police line, he was not in

the front of the line nor did he ever try to move to the front of the line. There were

people behind him and many people in front. He did not gloat after the fact or

downplay his involvement or that of others, nor glorify the pain caused upon

lawmakers. He admitted to the Government he destroyed the memory chip of his

GoPro. He never hid this fact and he provided the GoPro to law enforcement upon

his arrest. He explained that he got rid of the footage because he did not want to be

associated with the events considering the media was claiming participants were

terrorists and because his partner broke up with him for his involvement. He was

also scared. Even without the GoPro footage, the prosecution has ample footage of

Dodder and Nelson’s locations within and outside the Capitol.



Conclusion




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      In conclusion, Mr. Dodder, sincerely urges this Honorable Court sentence him

to probation with or without a period of home detention. A sentence greater than

that is unwarranted nor is it necessary. Mr. Dodder appreciates his error and will

forever be sorry for being present and entering the Capitol on January 6. At the

sentencing hearing, he plans to read to the Court a letter he has prepared.


                                       Respectfully submitted,

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                                              /s/
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                            CERTIFICATE OF SERVICE
I hereby certified that this Memorandum was filed using the ECF pacer system,
thereby providing notice of service to government counsel, on this 9th day of July
2024.


                          /s/
                   _______________________________
                   Elita C. Amato




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